       Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 1 of 9




 1 MIRIAM KIM (State Bar No. 238230)
   miriam.kim@mto.com
 2 EMILY C. CURRAN-HUBERTY (State Bar No. 293065)
   emily.curran-huberty@mto.com
 3 SKYLAR D. BROOKS (State Bar No. 310707)
   skylar.brooks@mto.com
 4 MUNGER, TOLLES & OLSON LLP
   560 Mission Street
 5 Twenty-Seventh Floor
   San Francisco, California 94105-2907
 6 Telephone:     (415) 512-4000
   Facsimile:     (415) 512-4077
 7
   Attorneys for Plaintiff
 8 RENEE LEPAGE

 9
                                 UNITED STATES DISTRICT COURT
10
                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
11

12 RENEE LEPAGE, an individual,                   Case No. 3:17-cv-00600-LB

13                 Plaintiff,                     JOINT TRIAL EXHIBIT LIST
14        vs.                                     Judge: Hon. Laurel Beeler
                                                  Crtrm.: B – 15th Floor
15 COUNTY OF NAPA; COUNTY OF NAPA
   SHERIFF’S DEPARTMENT; AND DEPUTY               Trial Date.:   October 15, 2019
16 TIMOTHY REID,

17                 Defendants.

18
19

20

21

22

23

24

25

26

27

28

                                                                                    17-cv-00600-LB
                                      JOINT TRIAL EXHIBIT LIST
                                                     Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 2 of 9
                                                                                            LePage v. County of Napa, Reid, et al.
                                                                         USDC Northern District of California, San Francisco Division, Case No. 17‐cv‐00600‐LB


                                                                                                    JOINT TRIAL EXHIBIT LIST
                                                                                                           10/1/2019




 TRIAL      BEGBATES          ENDBATES                   DATE                       DESCRIPTION                     STIPULATION       OFFERED INTO        ADMITTED   SPONSORING   LIMITS ON USE       PLAINTIFF'S
EXHIBIT                                                                                                                                 EVIDENCE            INTO       WITNESS                        OBJECTIONS
  NO.                                                                                                                                                     EVIDENCE
  001 CON (LePage) (Supp) CON (LePage) (Supp)          0/0/2012     Napa County Sheriff's Department,                    901;
        000014            000145                                    Procedures Manual, Napa County Sheriff's
                                                                    Office, Court Security Division

  002     CON (LePage) (Supp) CON (LePage) (Supp)      12/1/2015    Napa County Sheriff's Department Case                                                                                         802 (Hearsay); 805
          000147              000164                                Summary Report, Case Number NSD15‐                                                                                            (Hearsay within
                                                                    005270 & Attachments                                 901;                                                                     Hearsay)
  003     n/a                   n/a                    12/7/2015    Napa County Sheriff's Department Case                                                                                         802 (Hearsay); 805
                                                                    Summary Report, Case Number NSD15‐                                                                                            (Hearsay within
                                                                    005372 & attached Supplement Notes &                                                                                          Hearsay); NR (Needs
                                                                    Handwritten Note                                                                                                              Redaction)
                                                                                                                         901;
  004     CON (LePage) (Pltf    CON (LePage) (Pltf     5/24/2016    Claim Against the County of Napa, No. 16‐                                                                                     802 (Hearsay); 805
          Amended RFP, Set      Amended RFP, Set                    955 & Attachments                                                                                                             (Hearsay within
          One) 000001           One) 000013                                                                                                                                                       Hearsay); NR (Needs
                                                                                                                                                                                                  Redaction)

                                                                                                                                                                                                  OVERRULED
                                                                                                                                                                                                  [09/26/2019 ‐ 802;
                                                                                                                         901;                                                                     805; NR]
  005     CON (LePage) (Supp) CON (LePage) (Supp)      9/22/2017
                                                             Policy 300, Use of Force, Napa County
          000175              000182                         Sheriff's Office, Napa County SO Policy
                                                             Manual                                                      901;
  006     CON (LePage) (Supp) CON (LePage) (Supp) 9/22/2017 Policy 100, Law Enforcement Authority,
          000183              000185                         Napa County Sheriff's Office, Napa County
                                                             SO Policy Manual                                            901;
  007     CON (LePage) (Supp) CON (LePage) (Supp) 11/14/2017 Commission on Peace Officer Standards                                                                                                802 (Hearsay); 805
          000190              000199                         and Training Report: Timothy Conrad Reid                                                                                             (Hearsay within
                                                             & Certificate                                                                                                                        Hearsay)

                                                                                                                                                                                                  OVERRULED
                                                                                                                                                                                                  [09/26/2019 ‐ 802;
                                                                                                                         901;                                                                     805]
  008     CON (LePage) (Supp) CON (LePage) (Supp) 11/14/2017 Excerpt, Commission on Peace Officer                                                                                                 802 (Hearsay); 805
          000190              000193                         Standards and Training Report: Timothy                                                                                               (Hearsay within
                                                             Conrad Reid                                                                                                                          Hearsay)

                                                                                                                                                                                                  OVERRULED
                                                                                                                                                                                                  [09/26/2019 ‐ 802;
                                                                                                                         901;                                                                     805]




* Plaintiff's Hearsay objections apply to potential use by Defendants.                                          1 of 8
                                                   Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 3 of 9
                                                                                            LePage v. County of Napa, Reid, et al.
                                                                         USDC Northern District of California, San Francisco Division, Case No. 17‐cv‐00600‐LB


                                                                                                    JOINT TRIAL EXHIBIT LIST
                                                                                                           10/1/2019




 TRIAL    BEGBATES                    ENDBATES           DATE                       DESCRIPTION                     STIPULATION       OFFERED INTO        ADMITTED   SPONSORING   LIMITS ON USE   PLAINTIFF'S
EXHIBIT                                                                                                                                 EVIDENCE            INTO       WITNESS                    OBJECTIONS
  NO.                                                                                                                                                     EVIDENCE
  009 n/a                       n/a                    2/13/2018    Policy 324, Standards of Conduct, Napa
                                                                    County Sheriff's Office, Napa County SO
                                                                    Policy Manual                                        901;
  010     n/a                   n/a                    2/13/2018    Policy 300, Use of Force, Napa County
                                                                    Sheriff's Office, Napa County SO Policy
                                                                    Manual                                               901;
  011     n/a                   n/a                    6/12/2018    Notice of Taking Deposition of 30(b)(6)
                                                                    Witness (County of Napa and County of
                                                                    Napa Sheriff's Department)                           901;
  012                                                               EXHIBIT WITHDRAWN
  013     LePage_0000718        LePage_0000718         0/0/2015     Photograph of Plaintiff Renee LePage                 901;
  014     LePage_0000208        LePage_0000209                      Arizona State University Unofficial
                                                                    Transcript, Renee Marie LePage                   901; 803(6)
  015                                                  8/11/2016    Arizona State University ‐ Medical
                                                                    Withdrawal Request Approval for Spring
          LePage_0000702        LePage_0000703                      2016                                             901; 803(6)
  016     LePage_0000704        LePage_0000704         8/25/2017    Arizona State University ‐ Medical
                                                                    Withdrawal Request Approval for Spring
                                                                    2017                                             901; 803(6)
  017                                                  2/2/2018     Arizona State University ‐ Request for
                                                                    Documented Medical/Compassionate
          LePage_0000701        LePage_0000701                      Withdrawal                                       901; 803(6)
  018     LePage_0000705        LePage_0000705         3/29/2018
                                                                    Arizona State University ‐ Medical
                                                                    Withdrawal Request Approval for Fall 2017        901; 803(6)
  019     LePage_0000714        LePage_0000715         5/22/2019    Arizona State University ‐ Medical
                                                                    Withdrawal Request Approval for Spring
                                                                    2019                                                 901;
  020     n/a                   n/a                    7/16/2018    Errata: Expert Report of Eric A. Madsen
                                                                                                                         901;
  021     n/a                   n/a                    7/16/2018    Exhibit 1 to Expert Report of Eric A.
                                                                    Madsen ‐ Estimate of Ms. LePage's Annual
                                                                    Wages After Graduation                               901;
  022     n/a                   n/a                    7/16/2018    Exhibit 2 to Expert Report of Eric A.
                                                                    Madsen ‐ Estimate of Ms. LePage's
                                                                    Employment Benefits as a Percentage of
                                                                    Wages                                                901;
  023     n/a                   n/a                    7/16/2018    Exhibit 3 to Expert Report of Eric A.
                                                                    Madsen ‐ Employment Rates (White
                                                                    Women by Age, US)                                    901;




* Plaintiff's Hearsay objections apply to potential use by Defendants.                                          2 of 8
                                                   Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 4 of 9
                                                                                            LePage v. County of Napa, Reid, et al.
                                                                         USDC Northern District of California, San Francisco Division, Case No. 17‐cv‐00600‐LB


                                                                                                    JOINT TRIAL EXHIBIT LIST
                                                                                                           10/1/2019




 TRIAL    BEGBATES                    ENDBATES           DATE                       DESCRIPTION                     STIPULATION       OFFERED INTO        ADMITTED   SPONSORING   LIMITS ON USE       PLAINTIFF'S
EXHIBIT                                                                                                                                 EVIDENCE            INTO       WITNESS                        OBJECTIONS
  NO.                                                                                                                                                     EVIDENCE
  024 n/a                       n/a                    7/16/2018    Exhibit 4 to Expert Report of Eric A.
                                                                    Madsen ‐ Historical Wage Growth vs.
                                                                    Historical Inflation                                 901;
  025     n/a                   n/a                    7/16/2018    Exhibit 5 to Expert Report of Eric A.
                                                                    Madsen ‐ Discount Rate Based on Income‐
                                                                    Oriented Portfolio                                   901;
  026     n/a                   n/a                    7/16/2018    Exhibit 6 to Expert Report of Eric A.
                                                                    Madsen ‐ Present Value of Ms. LePage's
                                                                    Lost Wages and Benefits as of December
                                                                    31, 2018                                             901;
  027     n/a                   n/a                    7/16/2018    Exhibit 7 to Expert Report of Eric A.
                                                                    Madsen ‐ Present Value of Ms. LePage's
                                                                    Cost to Hire A Personal Care Aide as of
                                                                    December 31, 2018                                    901;
  028     n/a                   n/a                    7/16/2018    Exhibit 8 to Expert Report of Eric A.                                                                                         MIL (Subject of a
                                                                    Madsen ‐ Medical Costs Resulting from Ms.                                                                                     pending motion in
                                                                    LePage's Injuries                                    901;                                                                     limine)
  029     n/a                   n/a                    7/16/2018    Exhibit 9 to Expert Report of Eric Madsen ‐
                                                                    Historical Inflation of Medical Care Costs to
                                                                    Consumers                                            901;
  030     n/a                   n/a                    7/16/2018    Exhibit 10 to Expert Report of Eric A.                                                                                        MIL (Subject of a
                                                                    Madsen ‐ Present Value of Ms. LePage's                                                                                        pending motion in
                                                                    Future Medical Costs                                 901;                                                                     limine)
  031     OLE Health Napa       OLE Health Napa        6/27/2017    OLE Health Clinic Affidavit
          000001                000002                                                                                   901;
  032     OLE Health Napa       OLE Health Napa        4/25/2016    OLE Health Account Statement (through                                                                                         MIL (Subject of a
          000166                000171                              4/25/2016)                                                                                                                    pending motion in
                                                                                                                         901;                                                                     limine)
  033     Fairfield 000001      Fairfield 000002       4/27/2018    Fairfield Post Acute Rehab Affidavit                 901;
  034     Fairfield 000113      Fairfield 000113       4/24/2018    Fairfield Post Acute Rehab Billing                                                                                            MIL (Subject of a
                                                                    Statement                                                                                                                     pending motion in
                                                                                                                                                                                                  limine); NR (Needs
                                                                                                                         901;                                                                     Redaction)
  035     UCSF MCB 000001       UCSF MCB 000002        6/27/2017    UCSF Medical Center Affidavit                        901;
  036     UCSF MCB 000003       UCSF MCB 000003        6/20/2017    UCSF Medical Center Detail Bill (October                                                                                      MIL (Subject of a
                                                                    18, 2016)                                                                                                                     pending motion in
                                                                                                                         901;                                                                     limine)
  037     UCSF MGBS 000001 UCSF MGBS 000002            6/27/2017    UCSF Medical Center Affidavit ‐ Regarding
                                                                    MGBS documents                                       901;
  038     UCSF MGBS 000006 UCSF MGBS 000006            6/20/2017    UCSF Medical Center Detail Bill (May 9,                                                                                       MIL (Subject of a
                                                                    2016)                                                                                                                         pending motion in
                                                                                                                         901;                                                                     limine)




* Plaintiff's Hearsay objections apply to potential use by Defendants.                                          3 of 8
                                                   Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 5 of 9
                                                                                            LePage v. County of Napa, Reid, et al.
                                                                         USDC Northern District of California, San Francisco Division, Case No. 17‐cv‐00600‐LB


                                                                                                    JOINT TRIAL EXHIBIT LIST
                                                                                                           10/1/2019




 TRIAL    BEGBATES         ENDBATES                      DATE                       DESCRIPTION                     STIPULATION       OFFERED INTO        ADMITTED   SPONSORING   LIMITS ON USE       PLAINTIFF'S
EXHIBIT                                                                                                                                 EVIDENCE            INTO       WITNESS                        OBJECTIONS
  NO.                                                                                                                                                     EVIDENCE
  039 UCSF MGBS 000007 UCSF MGBS 000007                6/20/2017    UCSF Medical Center Detail Bill (October                                                                                      MIL (Subject of a
                                                                    18, 2016)                                                                                                                     pending motion in
                                                                                                                         901;                                                                     limine)
  040     UCSF MGBS 000008 UCSF MGBS 000008            6/20/2017    UCSF Medical Center Detail Bill (October                                                                                      MIL (Subject of a
                                                                    18, 2016 radiographs)                                                                                                         pending motion in
                                                                                                                         901;                                                                     limine)
  041     UCSF MGBS 000009 UCSF MGBS 000009            6/20/2017    UCSF Medical Center Detail Bill (February                                                                                     MIL (Subject of a
                                                                    8, 2017)                                                                                                                      pending motion in
                                                                                                                         901;                                                                     limine)
  042     QOV 000001            QOV 000002             4/27/2016    Queen of the Valley Hospital Affidavit ‐
                                                                    Patient Accounts                                     901;
  043     QOV 000026            QOV 000026             12/5/2015    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 12/1/15 services                                                                                                    pending motion in
                                                                                                                         901;                                                                     limine)
  044     QOV 000025            QOV 000025             1/15/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 1/12/16 services                                                                                                    pending motion in
                                                                                                                         901;                                                                     limine)
  045     QOV 000024            QOV 000024             1/23/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 1/20/16 services                                                                                                    pending motion in
                                                                                                                         901;                                                                     limine)
  046     QOV 000003            QOV 000003             3/23/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 3/18/16 services                                                                                                    pending motion in
                                                                                                                         901;                                                                     limine)
  047     QOV 000023            QOV 000023             3/23/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 3/18/2016 services                                                                                                  pending motion in
                                                                                                                         901;                                                                     limine)
  048     QOV 000005            QOV 000005             6/8/2016     Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 5/10/16 occupational therapy                                                                                        pending motion in
                                                                    services                                             901;                                                                     limine)
  049     QOV 000022            QOV 000022             6/8/2016     Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 5/10/16 services                                                                                                    pending motion in
                                                                                                                         901;                                                                     limine)
  050     QOV 000019            QOV 000019             10/6/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 9/16/16, 9/19/16 & 9/27/16                                                                                          pending motion in
                                                                    services                                             901;                                                                     limine)
  051     QOV 000007            QOV 000007             10/7/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 9/16/16, 9/19/16 & 9/27/16                                                                                          pending motion in
                                                                    physical therapy services                            901;                                                                     limine)
  052     QOV 000018            QOV 000018             11/6/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 10/19/16 & 10/26/16 services                                                                                        pending motion in
                                                                                                                         901;                                                                     limine)




* Plaintiff's Hearsay objections apply to potential use by Defendants.                                          4 of 8
                                                   Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 6 of 9
                                                                                            LePage v. County of Napa, Reid, et al.
                                                                         USDC Northern District of California, San Francisco Division, Case No. 17‐cv‐00600‐LB


                                                                                                    JOINT TRIAL EXHIBIT LIST
                                                                                                           10/1/2019




 TRIAL    BEGBATES                   ENDBATES            DATE                       DESCRIPTION                     STIPULATION       OFFERED INTO        ADMITTED   SPONSORING   LIMITS ON USE       PLAINTIFF'S
EXHIBIT                                                                                                                                 EVIDENCE            INTO       WITNESS                        OBJECTIONS
  NO.                                                                                                                                                     EVIDENCE
  053 QOV 000008                QOV 000008             11/7/2016 Queen of the Valley Hospital Invoice                                                                                             MIL (Subject of a
                                                                 regarding 10/19/16 & 10/26/16 physical                                                                                           pending motion in
                                                                 services                                                901;                                                                     limine)
  054     QOV 000009            QOV 000009            11/11/2016 Queen of the Valley Hospital Invoice                                                                                             MIL (Subject of a
                                                                 regarding 11/4/2016 CT Scan                                                                                                      pending motion in
                                                                                                                         901;                                                                     limine)
  055     QOV 000017            QOV 000017            11/11/2016 Queen of the Valley Hospital Invoice                                                                                             MIL (Subject of a
                                                                 regarding 11/4/16 CT Scan                                                                                                        pending motion in
                                                                                                                         901;                                                                     limine)
  056     QOV 000016            QOV 000016             12/6/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 11/16/16 services                                                                                                   pending motion in
                                                                                                                         901;                                                                     limine)
  057     QOV 000010            QOV 000010             12/7/2016    Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 11/16/16 physical therapy                                                                                           pending motion in
                                                                    services                                             901;                                                                     limine)
  058     QOV 000012            QOV 000012             7/6/2017     Queen of the Valley Hospital Billing                                                                                          MIL (Subject of a
                                                                    Statement regarding 7/6/17 X‐ray                                                                                              pending motion in
                                                                                                                         901;                                                                     limine)
  059     QOV 000011            QOV 000011             8/18/2017    Queen of the Valley Hospital Billing                                                                                          MIL (Subject of a
                                                                    Statement regarding 8/14/17 CT Scan and                                                                                       pending motion in
                                                                    services                                             901;                                                                     limine)
  060     QOV 000013            QOV 000013             4/6/2018     Queen of the Valley Hospital Invoice                                                                                          MIL (Subject of a
                                                                    regarding 3/8/18 & 3/22/18 services                                                                                           pending motion in
                                                                                                                         901;                                                                     limine)
  061     LePage_0000024        LePage_0000024        11/16/2015 Dr. Soren Andreas Singel's Progress Notes,
                                                                 UCSF Medical Center                                 901; 803(6)
  062     LePage_0000027        LePage_0000027         5/9/2016 Dr. Soren Andreas Singel's Progress Notes,                                                                                        MIL (Subject of a
                                                                 UCSF Medical Center                                                                                                              pending motion in
                                                                                                                     901; 803(6)                                                                  limine)
  063     LePage_0000096        LePage_0000096        10/18/2016 X‐rays of Lumbar Spine Report, UCSF
                                                                 Medical Center                                      901; 803(6)
  064     LePage_0000097        LePage_0000097        10/18/2016 X‐rays of Scoliosis Report, UCSF Medical
                                                                 Center                                              901; 803(6)
  065     LePage_0000088        LePage_0000088        10/18/2016 X‐rays of Cervical Spine Report, UCSF
                                                                 Medical Center                                      901; 803(6)
  066     LePage_0000090        LePage_0000091        10/18/2016 Medical Progress Notes from Dr. Aaron
                                                                 John Clark, UCSF Medical Center
                                                                                                                     901; 803(6)
  067     LePage_0000184        LePage_0000185        10/18/2016 MRI Images of Cervical Spine, UCSF
                                                                 Medical Center                                      901; 803(6)
  068     LePage_0000186        LePage_0000187        10/18/2016 MRI Images of Lumbar Spine, UCSF
                                                                 Medical Center                                      901; 803(6)




* Plaintiff's Hearsay objections apply to potential use by Defendants.                                          5 of 8
                                                   Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 7 of 9
                                                                                            LePage v. County of Napa, Reid, et al.
                                                                         USDC Northern District of California, San Francisco Division, Case No. 17‐cv‐00600‐LB


                                                                                                    JOINT TRIAL EXHIBIT LIST
                                                                                                           10/1/2019




 TRIAL     BEGBATES                   ENDBATES           DATE                       DESCRIPTION                     STIPULATION       OFFERED INTO        ADMITTED   SPONSORING   LIMITS ON USE   PLAINTIFF'S
EXHIBIT                                                                                                                                 EVIDENCE            INTO       WITNESS                    OBJECTIONS
  NO.                                                                                                                                                     EVIDENCE
  069 LePage_0000188            LePage_0000195        10/18/2016 MRI Images of Scoliosis, UCSF Medical
                                                                 Center                                              901; 803(6)
  070     LePage_0000216        LePage_0000216        12/22/2017 Surgical Records from Dr. Aaron John
                                                                 Clark, UCSF Medical Center                          901; 803(6)
  071     LePage_0000223        LePage_0000224        12/21/2017 Surgical Records from Dr. Aaron John
                                                                 Clark, UCSF Medical Center                          901; 803(6)
  072     LePage_0000259        LePage_0000259        12/22/2017 X‐rays of Scoliosis Report, UCSF Medical
                                                                 Center                                              901; 803(6)
  073     LePage_0000461        LePage_0000468        12/22/2017 MRI Images of Scoliosis, UCSF Medical
                                                                 Center                                              901; 803(6)
  074     LePage_0000100        LePage_0000102          2/8/2017 Medical Progress Notes from Dr. Scott
                                                                 Collins Berta, UCSF Medical Center                  901; 803(6)
  075     LePage_0000030        LePage_0000035         1/20/2016 Emergency Department Report, Queen of
                                                                 the Valley Medical Center                           901; 803(6)
  076     LePage_0000041        LePage_0000042         3/18/2016 MRI Imaging Services Report of Cervical
                                                                 Spine, Queen of the Valley Medical Center
                                                                                                                     901; 803(6)
  077     LePage_0000151        LePage_0000183         3/18/2016    MRI Images of Lumbar Spine, Queen of the
                                                                    Valley Medical Center                            901; 803(6)
  078     LePage_0000098        LePage_0000099         11/4/2016    CT Imaging Services Report of Cervical
                                                                    Spine, Queen of the Valley Medical Center
                                                                                                                     901; 803(6)
  079     LePage_0000210        LePage_0000212        12/20/2017 Medical Progress Notes from Dr. Colleen
                                                                 M. Townsend, OLE Health                             901; 803(6)
  080     n/a                   n/a                   9/11/2019 Affidavit of Custodian of Records of UCSF
                                                                 Medical Center, Radiology Department

  081     n/a                   n/a                                 Placeholder for Affidavit of Custodian of
                                                                    Records of Queen of the Valley Medical
                                                                    Center
  082     n/a                   n/a                    9/10/2019    Affidavit of Custodian of Records of OLE
                                                                    Health
  083     n/a                   n/a                                 Placeholder for Affidavit of Custodian of
                                                                    Records of UCSF Medical Center
  084     LePage_0000719        LePage_0000719                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  085     LePage_0000720        LePage_0000720                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;



* Plaintiff's Hearsay objections apply to potential use by Defendants.                                          6 of 8
                                                   Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 8 of 9
                                                                                            LePage v. County of Napa, Reid, et al.
                                                                         USDC Northern District of California, San Francisco Division, Case No. 17‐cv‐00600‐LB


                                                                                                    JOINT TRIAL EXHIBIT LIST
                                                                                                           10/1/2019




 TRIAL     BEGBATES                  ENDBATES            DATE                       DESCRIPTION                     STIPULATION       OFFERED INTO        ADMITTED   SPONSORING   LIMITS ON USE   PLAINTIFF'S
EXHIBIT                                                                                                                                 EVIDENCE            INTO       WITNESS                    OBJECTIONS
  NO.                                                                                                                                                     EVIDENCE
  086 LePage_0000721            LePage_0000721                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  087     LePage_0000722        LePage_0000722                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  088     LePage_0000723        LePage_0000723                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  089     LePage_0000724        LePage_0000724                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  090     LePage_0000725        LePage_0000725                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  091     LePage_0000726        LePage_0000726                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  092     LePage_0000727        LePage_0000727                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  093     LePage_0000728        LePage_0000728                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  094     LePage_0000729        LePage_0000729                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;




* Plaintiff's Hearsay objections apply to potential use by Defendants.                                          7 of 8
                                                   Case 3:17-cv-00600-LB Document 129 Filed 10/01/19 Page 9 of 9
                                                                                            LePage v. County of Napa, Reid, et al.
                                                                         USDC Northern District of California, San Francisco Division, Case No. 17‐cv‐00600‐LB


                                                                                                    JOINT TRIAL EXHIBIT LIST
                                                                                                           10/1/2019




 TRIAL     BEGBATES                   ENDBATES           DATE                       DESCRIPTION                     STIPULATION       OFFERED INTO        ADMITTED   SPONSORING   LIMITS ON USE   PLAINTIFF'S
EXHIBIT                                                                                                                                 EVIDENCE            INTO       WITNESS                    OBJECTIONS
  NO.                                                                                                                                                     EVIDENCE
  095 LePage_0000730            LePage_0000730                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  096     LePage_0000731        LePage_0000731                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  097     LePage_0000732        LePage_0000732                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  098     LePage_0000733        LePage_0000733                      Superior Court of California, County of
                                                                    Napa Courthouse Photo of Location of
                                                                    December 1, 2015 Incident
                                                                                                                         901;
  201     n/a                   n/a                    6/12/2018    IME Report of Thomas Mampalam, M.D.
                                                                    and exhibits                                         901;




* Plaintiff's Hearsay objections apply to potential use by Defendants.                                          8 of 8
